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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STANDING ROCK SIOUX TRIBE;
 YANKTON SIOUX TRIBE; ROBERT
 FLYING HAWK; OGLALA SIOUX
 TRIBE,
                                      Plaintiffs,
 and
 CHEYENNE RIVER SIOUX TRIBE,
                            Intervenor Plaintiff,          Case No. 1:16-cv-01534-JEB

            v.
 U.S. ARMY CORPS OF ENGINEERS,
                                     Defendant,
 and
 DAKOTA ACCESS, LLC,
                         Intervenor Defendant.


                      NOTICE OF SUPPLEMENTAL INFORMATION

       Dakota Access respectfully submits for this Court’s consideration in connection with Plain-

tiffs’ pending Motion for a Permanent Injunction, D.E. 569, the May 11, 2021 remarks of Secretary

of Energy Jennifer Granholm on the recent shutdown of the Colonial Pipeline. Those remarks

reinforce the relative advantages of pipeline transportation of crude oil products and the disruption

caused by pipeline shutdowns.

       The Colonial Pipeline, like the Dakota Access Pipeline, delivers oil products. Colonial

was forced to suspend operations on May 7 after discovering a cyberattack. The shutdown quickly

led to widespread gas shortages along the East Coast, William Turton et al., Colonial Pipeline

Paid    Hackers    Nearly     $5    Million    in       Ransom,   Bloomberg    (May     13,   2021),



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https://bloom.bg/3fgcyQu, and a public panic, Taylor Telford, Gas stations await relief from panic

buyers    while    Colonial    Pipeline   restores       service,   Wash.   Post   (May   13,    2021),

https://wapo.st/3fjxshM.

         Secretary Granholm addressed this situation on May 11. See Press Briefing by Press Sec-

retary Jen Psaki, Secretary of Energy Jennifer Granholm, and Secretary of Homeland Security

Alejandro Mayorkas, White House Briefing Room (May 11, 2021), https://bit.ly/3y8WGrP. In

response to a reporter’s question about “the feasibility of using rail cars to transport fuel into the

affected areas,” Secretary Granholm emphasized the preference for pipeline transportation:

         The [Department of Transportation] is looking at that, and so we’ll have to wait
         until their analysis is done. These . . . are not easy solutions because there may or
         may not be the right rail cars; there may not or may not be the deep-water ports
         available for the Jones Act to be able to respond. So this particular area of the
         country there—this is why we have doubled down on ensuring that there’s an abil-
         ity to truck oil in—gas in. But it’s—the pipe is the best way to go.

Id.

         These comments are instructive on the severe disruption of a pipeline shutdown, as well as

the relative superiority of pipeline transportation over rail or truck. Colonial transports a final

product of crude oil production; the Dakota Access Pipeline (“DAPL”) is a major artery for trans-

portation of that crude oil to refineries in the first place. DAPL transfers to market more than 40

percent of the oil from the Bakken Region and is responsible for 4.5 percent of all daily U.S. crude

production. Supplemental Declaration of Glenn Emery, D.E. 596-2 ¶ 5. A DAPL shutdown would

leave the second largest oil-producing State without a needed first step in the production-to-con-

sumer supply chain. Thus, DAPL—like Colonial—is a vital component of the supply chain for

petroleum and petroleum products in the United States. And, as is the case with Colonial, rail and

truck are inferior alternatives due to their limited availability in the short-term, and the greater

economic, environmental, and safety costs they impose. Supplemental Declaration of William J.



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Rennicke, D.E. 593-2 ¶ 4(d)–(f); Supplemental Declaration of Kenneth H. Ditzel, D.E. 596-1 ¶ 13.

Indeed, yesterday’s derailment in Iowa of a train carrying hazardous materials, much like the de-

railment of a train carrying crude oil near Seattle late last year, is a powerful reminder that enjoin-

ing the operation of DAPL would create even greater risks to the environment and safety. Joe

Sutton & Christina Maxouris, Train derailment & fire prompts evacuations in northwest Iowa,

CNN (May 17, 2021), https://cnn.it/3uZg1tm; Assoc. Press, Train cars carrying crude oil derail

& burn north of Seattle, CNBC (Dec. 23, 2020), https://cnb.cx/3bz1Xiv. A shutdown would also

weaken the nation’s energy infrastructure in a period when its security has already been shown to

be precarious. Declaration of Guy F. Caruso, D.E. 512-3 ¶ 6. Thus, “the pipe” at issue here also

“is the best way to go.”

       For these reasons, in addition to lack of irreparable harm and the other grounds already

briefed, Plaintiffs’ motion should be denied.




         Dated: May 17, 2021                                  Respectfully submitted,

                                                               /s/ William S. Scherman
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 17th day of May, 2021, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                   /s/ William S. Scherman
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